

Matter of Beckerman v Christopher (2016 NY Slip Op 05810)





Matter of Beckerman v Christopher


2016 NY Slip Op 05810


Decided on August 17, 2016


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 17, 2016
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
JOHN M. LEVENTHAL
THOMAS A. DICKERSON
LEONARD B. AUSTIN, JJ.


2016-06238

[*1]In the Matter of Jason L. Beckerman, petitioner,
vLinda Christopher, etc., et al, respondents.


Jason L. Beckerman, Scarsdale, NY, petitioner pro se.
Eric T. Schneiderman, Attorney General, New York, NY (Michael A. Berg of counsel), for respondent Linda Christopher.
Goldschmidt &amp; Genovese, White Plains, NY (Donna M. Genovese of counsel), for respondent Julie A. Beckerman. 
Robin D. Carton, White Plains, NY, attorney for the child.



DECISION &amp; JUDGMENT
Proceeding pursuant to CPLR article 78 in the nature of mandamus to compel the respondent Linda Christopher, a Justice of the Supreme Court, Rockland County, to vacate a temporary restraining order contained in an order to show cause of the Supreme Court, Westchester County, dated June 15, 2016, in an action entitled Beckerman v Beckerman,  pending in the Supreme Court, Westchester County, under Index No. 3585/14,  and in the nature of prohibition to bar Justice Christopher from taking any further actions regarding the relocation of the respondent Julie A. Beckerman and the parties' child.
ADJUDGED that the petition is denied and the proceeding is dismissed, without costs or disbursements.
The extraordinary remedy of mandamus will lie only to compel the performance of a ministerial act, and only where there exists a clear legal right to the relief sought (see Matter of Legal Aid Socy. of Sullivan County v Scheinman,  53 NY2d 12, 16). Moreover, "[b]ecause of its extraordinary nature, prohibition is available only where there is a clear legal right, and then only when a court  in cases where judicial authority is challenged  acts or threatens to act either without jurisdiction or in excess of its authorized powers" (Matter of Holtzman v Goldman,  71 NY2d 564, 569; see Matter of Rush v Mordue,  68 NY2d 348, 352). The petitioner failed to demonstrate a clear legal right to the relief sought.
DILLON, J.P.,  LEVENTHAL, DICKERSON and  AUSTIN , JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








